           Case 1:20-cv-04668-AJN Document 17
                                           18 Filed 10/23/20
                                                    10/27/20 Page 1 of 1
                                           U.S. Department of Justice
  [Type text]
                                                         United States Attorney
                                                         Southern District of New York
                                                         86 Chambers Street
                                                         New York, New York 10007

                                                         October 23, 2020

  VIA ECF
  Hon. Alison J. Nathan
  United States District Judge
  United States District Court
  40 Foley Square                                                                      10/27/2020
  New York, New York 10007

         Re:     Mohsen v. Barr, et al., No. 20 Civ. 4668 (AJN)

  Dear Judge Nathan:

           This Office represents the government in the above referenced action in which plaintiff
   seeks an order compelling U.S. Citizenship and Immigration
                                                         g       Services ((“USCIS”)) to adjudicate
                                                                                             j       his
   Application
     pp         to Adjust
                     j Status (Form
                                 (      I-485).
                                             ) I write to respectfully
                                                              p      y request
                                                                          q     an extension of time of
  approximately
    pp           y 45 days
                         y to respond
                                   p    to the complaint
                                                   p       in the above-referenced matter ((i.e.,, from
  November 3,, 2020 to December 17,, 2020).   ) I also respectfully
                                                          p       y request
                                                                      q      that the initial conference
  ppresently
           y scheduled for November 6,, 2020 be adjourned to a date at least one week after December
   17, 2020. Plaintiff consents to both requests.
                                                                                  6225'(5('              10/26/2020
           The extension and adjournment are respectfully requested because USCIS has issued a G56
   interview notice with a request for further evidence, and plaintiff’s interview has been scheduled
   for November 17, 2020. The government anticipates that the requested extension will provide
   adequate time for USCIS to interview the plaintiff, receive and review the additional evidence,
   and determine what next steps may be necessary.

          This is the government’s second request for an extension of the deadline to respond to the
  complaint and to adjourn the initial conference. The Court granted the government’s previous
  requests for an adjournment of the initial conference, see ECF No. 14, and for an extension of time
  to respond to the complaint. See ECF No. 16.

         I thank the Court for its consideration of these requests.

                                                         Respectfully submitted,
The conference is adjourned to
January 8, 2021 at 3:45 PM.                              AUDREY STRAUSS
                                                         Acting United States Attorney

                                                   By:    s/ Rebecca R. Friedman
                                                         Rebecca R. Friedman
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  cc: Counsel of record (via ECF)
